
PER CURIAM.
The appellant contends that the court erred in sentencing him as a habitual offender pursuant to section 775.084, Florida Statute (1989). He argues that the trial court relied on two convictions rendered on the same day in order to satisfy the statutory requirement of two prior convictions necessary to establish that the defendant is a habitual offender. The appellant correctly points out that contemporaneous convictions are insufficient to fulfill such statutory requirement. Walker v. State, 567 So.2d 546 (Fla. 2d DCA 1990).
Accordingly, we affirm the defendant’s convictions and vacate the sentence insofar as it adjudicated the defendant a habitual offender. Because the appellant did not object to the prior convictions at the time he was sentenced, upon remand the state will have the opportunity to prove the appellant meets the requirements for habitual offender sentencing. See Johnson v. State, 576 So.2d 916 (Fla. 2d DCA 1991). Therefore, we reverse and remand for re-sentencing.
SCHOONOVER, C.J., and HALL and THREADGILL, JJ., concur.
